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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO




   SYMBOLOGY INNOVATIONS LLC

          Plaintiff,                                   CIVIL ACTION NO. 1:18-cv-00879-MEH

          v.

   OTTER PRODUCTS, LLC

          Defendant.



               OTTER PRODUCTS, LLC’s ANSWER AND COUNTERCOMPLAINT



          Defendant Otter Products, LLC (“OtterBox”) answers the allegations of Plaintiff

   Symbology Innovations, LLC (“Symbology”) as follows:

                                    NATURE OF THE ACTION

          1.      OtterBox objects to this Paragraph to the extent it calls for a legal conclusion.

   OtterBox admits that what appears to be a copy of U.S. Patent Nos. 8,424,752 (“the ’752 patent”)

   is attached as Exhibit A to the Complaint. OtterBox admits that what appears to be a copy of U.S.

   Patent No. 8,651,369 (“the ’369 patent”) is attached as Exhibit B to the Complaint. OtterBox

   admits that what appears to be a copy of U.S. Patent No. 8,936,190 (“the ’190 patent”) is attached

   as Exhibit C to the Complaint. OtterBox admits that the Complaint purports to allege civil action

   for patent infringement arising under the patent laws of the United States, 35 U.S.C. § 271.

   OtterBox denies that the Complaint properly states such a claim and specifically denies any

   wrongdoing or infringement, and further denies that Plaintiff is entitled to any relief, including

   damages, attorneys’ fees, or costs.
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                                              THE PARTIES

           2.      OtterBox is without knowledge or information sufficient to form a belief as to the

   truth of the allegations set forth in Paragraph 2, and therefore denies them.

           3.      Admitted.

                                     JURISDICTION AND VENUE

           4.      OtterBox admits that this Court has jurisdiction over the subject matter of this

   action under 28 U.S.C. §§ 1331, 1338(a) because Plaintiff has alleged infringement of a patent,

   but denies that OtterBox has committed or is committing infringement of any valid, enforceable

   claim of the asserted patents or that Plaintiff is entitled to any requested relief.

           5.      OtterBox objects to this Paragraph to the extent it calls for a legal conclusion.

   OtterBox admits that it conducts business in the State of Colorado. OtterBox denies it has

   committed or is committing acts of infringement of any valid, enforceable claim of the asserted

   patents, including within the State of Colorado or in this judicial district and, on that basis, denies

   the remaining factual allegations of Paragraph 5 of the Complaint. OtterBox is not contesting

   personal jurisdiction in this case.

           6.      OtterBox admits that it does business in this forum. OtterBox denies that it has

   committed or is committing acts of infringement of any valid, enforceable claim of the asserted

   patents. OtterBox objects to this Paragraph to the extent it calls for a legal conclusion. OtterBox

   is not contesting personal jurisdiction in this case.

           7.      OtterBox objects to this Paragraph to the extent it calls for a legal conclusion.

   OtterBox denies that it has committed or is committing acts of infringement of any valid,

   enforceable claim of the asserted patents in this district or elsewhere. OtterBox admits that venue

   is proper in this judicial district pursuant to 28 U.S.C. § 1400(b). OtterBox denies the remaining

   allegations in Paragraph 7 of the Complaint.


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                                     FACTUAL ALLEGATIONS

                                                ‘752 patent

          8.      OtterBox admits that, on its face, Exhibit A attached to the Complaint states that

   the ’752 patent was issued by the USPTO on April 23, 2013 and is entitled “System and method

   for presenting information about an object on a portable electronic device.” OtterBox denies that

   the ‘752 patent was duly and legally issued. OtterBox is without knowledge or information

   sufficient to form a belief as to the truth of the remaining allegations set forth in Paragraph 8 of

   the Complaint, and therefore denies them.

          9.      OtterBox is without knowledge or information sufficient to form a belief as to the

   truth of the allegations set forth in Paragraph 9 of the Complaint, and therefore denies them.

          10.     OtterBox admits that, on its face, Exhibit A attached to the Complaint purports to

   be a copy of the ’752 patent that appears to contain three independent and twenty-five dependent

   claims. OtterBox denies the remaining allegations in Paragraph 10 of the Complaint.

          11.     OtterBox objects to this Paragraph to the extent it calls for a legal conclusion.

   OtterBox admits that the claims of the ’752 patent speak for themselves, but denies any

   characterizations inconsistent therewith contained in Paragraph 11 of the Complaint. OtterBox

   denies any remaining allegations in Paragraph 11 of the Complaint.

                                                ‘369 patent

          12.     OtterBox admits that, on its face, Exhibit B attached to the Complaint states that

   the ’369 patent was issued by the USPTO on February 28, 2014. OtterBox admits that, on its face,

   Exhibit B states the ’369 patent is entitled “System and method for presenting information about

   an object on a portable device,” but denies that the ’369 patent title contains the word “electronic.”

   OtterBox denies that the ’369 patent was duly and legally issued. OtterBox is without knowledge




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   or information sufficient to form a belief as to the truth of the remaining allegations set forth in

   Paragraph 12 of the Complaint, and therefore denies them.

          13.     OtterBox is without knowledge or information sufficient to form a belief as to the

   truth of the allegations set forth in Paragraph 13 of the Complaint, and therefore denies them.

          14.     OtterBox admits that, on its face, Exhibit B attached to the Complaint purports to

   be a copy of the ’369 patent that appears to contain three independent and twenty-five dependent

   claims. OtterBox denies the remaining allegations in Paragraph 14 of the Complaint.

          15.     OtterBox objects to this Paragraph to the extent it calls for a legal conclusion.

   OtterBox admits that the claims of the ’369 patent speak for themselves, but denies any

   characterizations inconsistent therewith contained in Paragraph 15 of the Complaint. OtterBox

   denies any remaining allegations in Paragraph 15 of the Complaint.

                                               ‘190 patent

          16.     OtterBox admits that, on its face, Exhibit C attached to the Complaint states that

   the ’190 patent was issued by the USPTO on January 20, 2015 and is entitled “System and method

   for presenting information about an object on a portable electronic device.” OtterBox denies that

   the ’190 patent was duly and legally issued. OtterBox is without knowledge or information

   sufficient to form a belief as to the truth of the remaining allegations set forth in Paragraph 16 of

   the Complaint, and therefore denies them.

          17.     OtterBox is without knowledge or information sufficient to form a belief as to the

   truth of the allegations set forth in Paragraph 17 of the Complaint, and therefore denies them.

          18.     OtterBox admits that, on its face, Exhibit C attached to the Complaint purports to

   be a copy of the ’190 patent that appears to contain three independent and seventeen dependent

   claims. OtterBox denies the remaining allegations in Paragraph 18 of the Complaint.




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          19.     OtterBox objects to this Paragraph to the extent it calls for a legal conclusion.

   OtterBox admits that the claims of the ’190 patent speak for themselves, but denies any

   characterizations inconsistent therewith contained in Paragraph 19 of the Complaint. OtterBox

   denies any remaining allegations in Paragraph 19 of the Complaint.

                                        COUNT I
                             INFRINGEMENT OF THE ‘752 PATENT

          20.     OtterBox incorporates its answers to each of the foregoing Paragraphs 1 to 19 as

   though fully restated herein.

          21.     Denied.

          22.     Denied.

          23.     Denied.

          24.     OtterBox incorporates its answers to each of the foregoing Paragraphs 21 to 23 as

   though fully restated herein. OtterBox admits that a Quick Response (QR) code has appeared on

   certain OtterBox product packaging. OtterBox denies that it has committed or is committing acts

   of infringement of any valid, enforceable claim of the ’752 Patent in this district or elsewhere and,

   on that basis, denies any remaining allegations in Paragraph 24 of the Complaint.

          25.     OtterBox incorporates its answers to each of the foregoing Paragraphs 21 to 24 as

   though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal

   conclusion. OtterBox denies that it has committed or is committing acts of infringement of any

   valid, enforceable claim of the ’752 Patent in this district or elsewhere and, on that basis, denies

   any remaining allegations in Paragraph 25 of the Complaint.

          26.     OtterBox incorporates its answers to each of the foregoing Paragraphs 21 to 25 as

   though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal

   conclusion. OtterBox denies that it has committed or is committing acts of infringement of any



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   valid, enforceable claim of the ’752 Patent in this district or elsewhere and, on that basis, denies

   any remaining allegations in Paragraph 26 of the Complaint.

          27.     OtterBox incorporates its answers to each of the foregoing Paragraphs 21 to 26 as

   though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal

   conclusion. OtterBox denies that it has committed or is committing acts of infringement of any

   valid, enforceable claim of the ’752 Patent in this district or elsewhere and, on that basis, denies

   any remaining allegations in Paragraph 27 of the Complaint.

          28.     OtterBox incorporates its answers to each of the foregoing Paragraphs 21 to 27 as

   though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal

   conclusion. OtterBox denies that it has committed or is committing acts of infringement of any

   valid, enforceable claim of the ’752 Patent in this district or elsewhere and, on that basis, denies

   any remaining allegations in Paragraph 28 of the Complaint.

          29.     OtterBox incorporates its answers to each of the foregoing Paragraphs 21 to 28 as

   though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal

   conclusion. OtterBox denies that it has committed or is committing acts of infringement of any

   valid, enforceable claim of the ’752 Patent in this district or elsewhere and, on that basis, denies

   any remaining allegations in Paragraph 29 of the Complaint.

          30.     Denied.

          31.     Denied.

          32.     OtterBox denies that it has committed or is committing acts of infringement of any

   valid, enforceable claim of the ’752 Patent in this district or elsewhere and, on that basis, denies

   that Symbology has suffered any monetary damages or is entitled to a monetary judgment,

   interests, or costs. OtterBox denies any remaining factual allegations of Paragraph 32.




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          33.     Denied.

                                       COUNT II
                             INFRINGEMENT OF THE ‘369 PATENT

          34.     OtterBox incorporates its answers to each of the foregoing Paragraphs 1 to 33 as

   though fully restated herein.

          35.     Denied.

          36.     Denied.

          37.     Denied.

          38.     OtterBox incorporates its answers to each of the foregoing Paragraphs 35 to 37 as

   though fully restated herein. OtterBox denies that it has committed or is committing acts of

   infringement of any valid, enforceable claim of the ’369 Patent in this district or elsewhere and,

   on that basis, denies any remaining allegations in Paragraph 38 of the Complaint.

          39.     OtterBox incorporates its answers to each of the foregoing Paragraphs 35 to 38 as

   though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal

   conclusion. OtterBox denies that it has committed or is committing acts of infringement of any

   valid, enforceable claim of the ’369 Patent in this district or elsewhere and, on that basis, denies

   any remaining allegations in Paragraph 39 of the Complaint.

          40.     OtterBox incorporates its answers to each of the foregoing Paragraphs 35 to 39 as

   though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal

   conclusion. OtterBox denies that it has committed or is committing acts of infringement of any

   valid, enforceable claim of the ’369 Patent in this district or elsewhere and, on that basis, denies

   any remaining allegations in Paragraph 40 of the Complaint.

          41.     OtterBox incorporates its answers to each of the foregoing Paragraphs 35 to 40 as

   though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal



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   conclusion. OtterBox denies that it has committed or is committing acts of infringement of any

   valid, enforceable claim of the ’369 Patent in this district or elsewhere and, on that basis, denies

   any remaining allegations in Paragraph 41 of the Complaint.

          42.     OtterBox incorporates its answers to each of the foregoing Paragraphs 35 to 41 as

   though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal

   conclusion. OtterBox denies that it has committed or is committing acts of infringement of any

   valid, enforceable claim of the ’369 Patent in this district or elsewhere and, on that basis, denies

   any remaining allegations in Paragraph 42 of the Complaint.

          43.     OtterBox incorporates its answers to each of the foregoing Paragraphs 35 to 42 as

   though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal

   conclusion. OtterBox denies that it has committed or is committing acts of infringement of any

   valid, enforceable claim of the ’369 Patent in this district or elsewhere and, on that basis, denies

   any remaining allegations in Paragraph 43 of the Complaint.

          44.     Denied.

          45.     Denied.

          46.     OtterBox denies that it has committed or is committing acts of infringement of any

   valid, enforceable claim of the ’369 Patent in this district or elsewhere and, on that basis, denies

   that Symbology has suffered any monetary damages or is entitled to a monetary judgment,

   interests, or costs. OtterBox denies any remaining factual allegations of Paragraph 46.

          47.     Denied.

                                       COUNT III
                             INFRINGEMENT OF THE ‘190 PATENT

          48.     OtterBox incorporates its answers to each of the foregoing Paragraphs 1 to 47 as

   though fully restated herein.



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          49.     Denied.

          50.     Denied.

          51.     Denied.

          52.     OtterBox incorporates its answers to each of the foregoing Paragraphs 49 to 51 as

   though fully restated herein. OtterBox denies that it has committed or is committing acts of

   infringement of any valid, enforceable claim of the ’190 Patent in this district or elsewhere and,

   on that basis, denies any remaining allegations in Paragraph 52 of the Complaint.

          53.     OtterBox incorporates its answers to each of the foregoing Paragraphs 49 to 52 as

   though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal

   conclusion. OtterBox denies that it has committed or is committing acts of infringement of any

   valid, enforceable claim of the ’190 Patent in this district or elsewhere and, on that basis, denies

   any remaining allegations in Paragraph 53 of the Complaint.

          54.     OtterBox incorporates its answers to each of the foregoing Paragraphs 49 to 53 as

   though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal

   conclusion. OtterBox denies that it has committed or is committing acts of infringement of any

   valid, enforceable claim of the ’190 Patent in this district or elsewhere and, on that basis, denies

   any remaining allegations in Paragraph 54 of the Complaint.

          55.     OtterBox incorporates its answers to each of the foregoing Paragraphs 49 to 54 as

   though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal

   conclusion. OtterBox denies that it has committed or is committing acts of infringement of any

   valid, enforceable claim of the ’190 Patent in this district or elsewhere and, on that basis, denies

   any remaining allegations in Paragraph 55 of the Complaint.




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         56.     OtterBox incorporates its answers to each of the foregoing Paragraphs 49 to 55 as

  though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal

  conclusion. OtterBox denies that it has committed or is committing acts of infringement of any

  valid, enforceable claim of the ’190 Patent in this district or elsewhere and, on that basis, denies

  any remaining allegations in Paragraph 56 of the Complaint.

         57.     OtterBox incorporates its answers to each of the foregoing Paragraphs 49 to 56 as

  though fully restated herein. OtterBox objects to this Paragraph to the extent it calls for a legal

  conclusion. OtterBox denies that it has committed or is committing acts of infringement of any

  valid, enforceable claim of the ’190 Patent in this district or elsewhere and, on that basis, denies

  any remaining allegations in Paragraph 57 of the Complaint.

         58.     Denied.

         59.     Denied.

         60.     OtterBox denies that it has committed or is committing acts of infringement of any

  valid, enforceable claim of the ’190 Patent in this district or elsewhere and, on that basis, denies

  that Symbology has suffered any monetary damages or is entitled to a monetary judgment,

  interests, or costs. OtterBox denies any remaining factual allegations of Paragraph 60.

         61.     Denied.

                           [PLAINTIFF’S] DEMAND FOR JURY TRIAL

         62.     OtterBox denies that the Complaint properly states a claim so triable, and

  specifically denies any wrongdoing or infringement.

                                     RESPONSE TO PRAYER

         OtterBox denies Symbology is entitled to any relief, including any relief form OtterBox,

  and prays this Court denies all relief demanded by Symbology in its claims.




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                                   AFFIRMATIVE DEFENSES

         Further answering Symbology’s Complaint and as additional defenses thereto, OtterBox

  asserts the following affirmative defenses, without admitting any allegations not otherwise

  admitted and without assuming the burden of proof when such burden would otherwise be on

  Symbology. OtterBox reserves the right to allege additional affirmative defenses as they become

  known through the course of discovery.

                                     First Affirmative Defense
                                     (Failure to State a Claim)

         Symbology fails to state any cause of action upon which relief may be granted.

                                   Second Affirmative Defense
                         (Non-Infringement of U.S. Patent No. 8,424,752)

         OtterBox has not infringed, neither literally nor under the doctrine of equivalents, any claim

  of United States Patent No. 8,424,752. Moreover, OtterBox has not infringed any claim of United

  States Patent No. 8,424,752.

                                   Third Affirmative Defense
                         (Non-Infringement of U.S. Patent No. 8,651,369)

         OtterBox has not infringed, neither literally nor under the doctrine of equivalents, any claim

  of United States Patent No. 8,651,369. Moreover, OtterBox has not infringed any claim of United

  States Patent No. 8,651,369.

                                   Fourth Affirmative Defense
                         (Non-Infringement of U.S. Patent No. 8,936,190)

         OtterBox has not infringed, neither literally nor under the doctrine of equivalents, any claim

  of United States Patent No. 8,936,190. Moreover, OtterBox has not infringed any claim of United

  States Patent No. 8,936,190.




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                                     Fifth Affirmative Defense
                              (Invalidity of U.S. Patent No. 8,424,752)

         Symbology’s purported claims for infringement are barred in whole or in part because one

  or more claims of United States Patent No. 8,424,752 are invalid for failure to comply with one or

  more of the requirements of 35 U.S.C. §§ 1 et seq., including, but not limited to, 35 U.S.C. §§ 101,

  102, 103 and 112, and the rules, regulations and laws pertaining thereto.

                                     Sixth Affirmative Defense
                              (Invalidity of U.S. Patent No. 8,651,369)

         Symbology’s purported claims for infringement are barred in whole or in part because one

  or more claims of United States Patent No. 8,651,369 are invalid for failure to comply with one or

  more of the requirements of 35 U.S.C. §§ 1 et seq., including, but not limited to, 35 U.S.C. §§ 101,

  102, 103 and 112, and the rules, regulations and laws pertaining thereto.

                                   Seventh Affirmative Defense
                              (Invalidity of U.S. Patent No. 8,936,190)

         Symbology’s purported claims for infringement are barred in whole or in part because one

  or more claims of United States Patent No. 8,936,190 are invalid for failure to comply with one or

  more of the requirements of 35 U.S.C. §§ 1 et seq., including, but not limited to, 35 U.S.C. §§ 101,

  102, 103 and 112, and the rules, regulations and laws pertaining thereto.

                                   Eight Affirmative Defense
                      (Estoppel, Acquiescence, Waiver, and Unclean Hands)

         Symbology’s purported claims are barred, in whole or in part, by one or more of the

  equitable doctrines of estoppel, acquiescence, waiver, unclean hands, and/or other equitable

  remedies.




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                                      Ninth Affirmative Defense
                                          (Unenforceability)

         Symbology’s purported claims are barred, in whole or in part, by the doctrine of inequitable

  conduct.

                                      Tenth Affirmative Defense
                                          (Failure to Mark)

         To the extent that Symbology and any predecessors in interest to any of the Patents-in-Suit

  failed to properly mark any of their relevant products or materials as required by 35 U.S.C. § 287,

  or otherwise give proper notice that OtterBox’s actions allegedly infringe the Patents-in-Suit,

  OtterBox is not liable to Symbology for the acts alleged to have been performed before it received

  actual notice that it was allegedly infringing the Patents-in-Suit.

                                    Eleventh Affirmative Defense
                                    (Statutory Limit on Damages)

         Symbology’s claim for damages is statutorily limited by 35 U.S.C. § 286.

                                    Twelfth Affirmative Defense
                                   (Prosecution History Estoppel)

         By reason of statements, representations, admissions, concessions, arguments, and/or

  amendments made by and/or on behalf of the applicants during the prosecution of the patent

  applications that led to the issuance of the Patents-in-Suit, Symbology’s claims of patent

  infringement are barred, in whole or in part, by the doctrine of prosecution history estoppel and/or

  disclaimer.

                                   Thirteenth Affirmative Defense
                                  (Injunctive Relief Not Available)

         To the extent Symbology seeks injunctive relief for any claim, the relief sought by

  Symbology is unavailable because any alleged injury to Symbology is not immediate or




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  irreparable, the balance of hardships and public interest weights against the grant of an injunction,

  and because Symbology has an adequate remedy at law for any alleged injury.

                                  Fourteenth Affirmative Defense
                                       (Intervening Rights)

         To the extent reeaxamination certificate(s) issue for the Patents-in-Suit, OtterBox has

  intervening rights under each of the Patents-in-Suit, as proscribed by 35 U.S.C. § 307(b).

                                   Fifteenth Affirmative Defense
                                (Reservation of Remaining Defenses)

         OtterBox reserves all defenses under Rule 8(c) of the Federal Rules of Civil Procedure, the

  Patent Laws of the United States and any other defenses, at law or in equity, which may now exist

  or in the future be available based on discovery.

                                               *        *      *




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                                          COUNTERCLAIMS

          Otter Products, LLC (“OtterBox”), by and through its attorneys, asserts the following

  counterclaims against Symbology Innovations, LLC (“Symbology”) and alleges as follows:

                                             THE PARTIES

          1.      OtterBox is a Colorado Limited Liability Company with its principal place of

  business at 209 S. Meldrum Street, Fort Collins, Colorado 80521.

          2.      OtterBox designs, manufactures, and sells protective cases and products for

  portable electronic devices, such as smart phones and tablets, for many popular brands, such as

  Apple, BlackBerry, Nokia, Samsung, and Sony. OtterBox offers several lines of cases and

  products with different levels of protection against water, dust, drops, shocks, and scratches and

  different features. See, generally http://www.otterbox.com.

          3.      Based on representations by Symbology in the Complaint, Symbology is a Texas

  company with its principal place of business at 1400 Preston Road, Suite 400, Plano, TX 75093.

          4.      On information and belief, Symbology does not manufacture or sell any products,

  rather its entire business consists of asserting patents against practicing entities.

                                    JURISDICTION AND VENUE

          5.      OtterBox incorporates by reference Paragraphs 1–4 above.

          6.      These counterclaims arise under the patent laws of the United States, Title 35,

  United States Code (“U.S.C.”). The jurisdiction of this Court is proper pursuant to at least 35

  U.S.C. § 271 et seq., and 28 U.S.C. §§ 1331, 1332, 1338(a), and 2201–02.

          7.      Symbology has consented to the personal jurisdiction of this Court at least by

  commencing its action for patent infringement in this District, as set forth in its Complaint.

          8.      Venue is proper in this District pursuant to at least 28 U.S.C. §§ 1391 and 1400.




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                                     FACTUAL BACKGROUND

           A.    History of the QR Code

           9.    On information and belief, QR codes were invented by a Toyota subsidiary called

  Denso Wave Incorporated (“Denso Wave”) in 1994. See http://www.qrcode.com/en/history/.

           10.   Denso Wave went on to obtain numerous patents relating to QR code technology,

  including at least United States Patent Nos. 5,691,527 (issued Nov. 25, 1997); 5,726,435 (issued

  Mar. 10, 1998); and 7,032,823 (issued Apr. 25, 2006) (collectively, the “Selected Denso Patents”).

  And see generally “Patents pertaining to the QR Code,” QRCode.com, available at

  http://www.qrcode.com/en/patent.html (last visited May 31, 2018).

           11.   According to Denso Wave, “[a]lthough DENSO WAVE would retain the patent

  rights to the QR Code, it declared that it would not exercise them[,]” and this decision was a factor

  “that contributed greatly to spreading the use of the code[.]” Id. Today, “[e]veryone can use the

  QR Code freely as long as following the standards for QR Codes in JIS or ISO.” “About the

  Patent,” QRCode.com, available at http://www.qrcode.com/en/patent.html (last visited May 21,

  2018).

           12.   Following Denso Wave’s dedication of the QR format to the public decades ago,

  QR codes have since been used by companies and organizations all over the world, and were even

  approved in 2000 by the International Standards Organization (“ISO”) as one of its international

  standards. See id. at Section 3.

           13.   By the early 2000s, the QR format was widespread in industrial, commercial, and

  consumer settings.

                 1.      QR Codes Everywhere video

           14.   For example, a video titled “QR Codes Everywhere,” provides details regarding the

  functionality and prevalence of QR Codes in the year 2008, and on information and belief was


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  posted         December       22,      2008       on      YouTube.com         at      the     URL

  https://www.youtube.com/watch?v=2vS3R2u7sXA (“QR Codes Everywhere video”).

           15.     The “QR Codes Everywhere” video explains that no later than 2008, “all [a user

  would] have to do is grab a phone that has a barcode scanner on it, and almost all phones shipping

  to the States now from Nokia include this, this is the Google phone – they have a project called

  Zebra Crossing – iPhone has a ton of applications[.]” Id. at timecode 0:56 (emphasis added).

           16.     The “QR Codes Everywhere” video additionally explains that “[i]n the UK, they

  [QR codes] are expected to be the hottest trend in 2009[.]” Id. at timecode 0:20 (emphasis added).

           17.     The “QR Codes Everywhere” video provides instruction to users on the operation

  and use of QR Codes:

           a.      First, the video explains that a practical use of QR codes was associating such QR

                   codes with products/or services, on information and belief based on OtterBox’s

                   understanding of the allegations of Symbology’s Complaint. See id. at timecode

                   0:43 (“a practical use for a QR Code on a business card is when I hand my business

                   card to somebody and I want them to add my contact information to their cell phone,

                   because inherently I’m giving it to them because I want them to call me, all they

                   have to do is grab a phone that has a barcode scanner on it”); and see Complaint at

                   ¶¶ 24, 38, & 52.

           b.      On information and belief based on OtterBox’s understanding of the allegations of

                   Symbology’s Complaint, the video additionally then provides that the user would

                   use a phone to ‘capture[] a digital image of a QR code’:




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              Id. at 1:11 (“So you take your phone that has a barcode scanner and a camera,

              hold it up to the business card with the QR code there”); see also video frame at

              id. (phone displaying message: “Place a barcode inside the viewfinder rectangle to

              read it”); and see Complaint, at ¶¶ 25-26, 39-40, & 53-54.

        c.    In the video, and based on OtterBox’s understanding of the allegations of

              Symbology’s Complaint, the featured application is demonstrated as capturing a

              digital image of a QR Code associated with a business card with no interaction by

              the user. Id. at timecode 1:21.

        d.    Once captured, the QR code is processed by scanning technology loaded onto the

              camera phone. On information and belief based on OtterBox’s understanding of

              the allegations of Symbology’s Complaint, the scanning technology detects

              symbology (here, a QR code) associated with an object (here, content information

              for the individual’s business card relating to products or services):




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              Id. at timecode 1:21; and see frame at id. (phone displaying message: “Found

              contact info” with prompts for user regarding actions to be taken); id. at timecode

              1:22 (“Then what we have is the ability to make a call instantly from that

              information, save it as a contact, or send an email.”); see also Complaint, at ¶¶ 27,

              41, & 55.

        e.    On information and belief based on OtterBox’s understanding of the allegations of

              Symbology’s Complaint, the scanning technology is used to decode the symbology

              (here, a QR code) to obtain a decode string. Id. at 1:42 (“You can also put a URL

              in -- so we were mentioning print ads, so if you have a print ad and you want to

              drive people to a special landing page you can go directly there and sign up an email

              newsletter, things of that nature.”). See Complaint, at ¶¶ 27, 41, & 55.

        f.    On information and belief based on OtterBox’s understanding of the allegations of

              Symbology’s Complaint, and on information and belief, the decode string is sent to

              a remote server for further processing, which in turn sends information associated

              with the QR code that is received by the user of the camera phone and displayed on

              a display of that smartphone:




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                Id. at timecode 2:53; see also id. 2:24-2:56 (demonstrating use of QR code to

                launch URL); and see Complaint, at ¶¶ 27, 41, & 55.

         g.     After detecting the QR code, and on information and belief based on OtterBox’s

                understanding of the allegations of Symbology’s Complaint, the application is

                configured to alert the user when an image containing a QR code has been detected

                (here, once the QR code is scanned the user receives notification asking whether to

                open the referenced website). See id. at timecode 2:53.

                2.     QR Code Business Cards video

         18.    Another video titled “QR Code Business Cards” was posted on YouTube.com, and

  on information and belief was available no later than September 25, 2009 at the URL

  https://www.youtube.com/watch?v=VEuX23iy2A4 (“QR Code Business Cards video”).

         19.    The “QR Code Business Cards” video describes an offer for sale of a business card

  printed product including a QR code and instructions for recipients of the business card on the

  operation of QR codes:




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         Id. at timecode 0:46.

         20.     On information and belief based on OtterBox’s understanding of Symbology’s

  Complaint, the QR Code Business Cards video demonstrates the capture of a digital image of a

  QR code on the business card, with no interaction by the user:




   Id. at timecode 0:57.                            Id. at timecode 0:58 (displaying prompt “Add
                                                    Contact”).


         21.     In the video, the featured application is demonstrated as capturing a digital image

  of a QR Code associated with a business card with no interaction by the user. Id. at timecode 1:21.

         22.     On information and belief based on OtterBox’s understanding of the allegations of

  Symbology’s Complaint, the “QR Code Business Cards” video demonstrates an application

  configured to alert the user when an image containing a QR code has been detected. In this




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  example, the application presents the user with a screen containing contact information from the

  business card and an option to “Add Contact”:




         Id. at timecode 0:58.

                 3.      Introduction to QR Codes video

         23.     Another video titled “Introduction to QR Codes” was posted on YouTube.com, and

  on information and belief was available no later than August 20, 2009 at the URL

  https://www.youtube.com/watch?v=LMKLwFEiwOc (“Introduction to QR Codes video”).

         24.     The “Introduction to QR Codes” video explains that QR codes “often feature URLs

  that direct users to sites that provide more information about the QR tagged object or place, thus

  hyperlinking the physical world to the Internet.” Id. at timecode 0:15 (emphasis added).

         25.     The “Introduction to QR Codes” video goes on to explain that “decoding software

  on mobile devices such as camera phones interprets the codes[.]” Id. at timecode 0:30.

         26.     The video “Introduction to QR Codes” then goes on to explain the process for using

  a QR Code:

         “Using the decoding software application, such as ‘Barcodes’, is quite simple. Take
         a photo, the desired QR Code, from at least two feet away. Then adjust the photo
         so the QR code is centered on your screen. Allow the software application to
         process the code. Once it decodes it, it will bring you to its hidden text or URL.”

  Id. at timecode 0:54 - 1:32.




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         27.     As demonstrated in the “Introduction to QR Codes” video, once the software

  application decodes the QR code,           and on information and belief based on OtterBox’s

  understanding of the allegations of Symbology’s Complaint, the software application is configured

  to alert the user when an image containing a QR code has been detected:




  See id. at timecode 0:39; and see Complaint, at ¶¶ 29, 43, & 57.

         28.     In addition to the publicly available demonstrations of the QR code format

  discussed herein, the Patents-in-Suit themselves even acknowledge the widespread use of QR

  codes, for example, U.S. Patent Nos. 8,424,752 at 3:31-33 states “Examples of applications that

  allow scanning [of QR codes] include Neomedia’s Neo Reader, Microsoft’s Smart Tags,

  Android’s Shop Savvy, Red Laser, ScanBuy, etc.”).

         29.     Symbology filed this action on April 13, 2018 accusing OtterBox of infringing the

  Patents-in-Suit based solely on Otterbox’s alleged use of the very same QR code technology that

  was invented in 1994 and dedicated to the public by Denso Wave and, on information and belief

  based on OtterBox’s understanding of Symbology’s allegations, relating to conduct demonstrated

  in public use before the filing dates of the Patents-in-Suit.

                                         First Counterclaim
                                  (Declaration of Non-Infringement)

         30.     OtterBox hereby realleges and incorporates by reference each of the foregoing

  paragraphs as if fully set forth herein.


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         31.      By filing its Complaint, Symbology has purported to assert a claim for

  infringement.

         32.      OtterBox denies Symbology’s allegations of infringement of United States Patent

  Nos. 8,424,752; 8,651,369; and 8,936,190 (collectively, the “Patents-in-Suit”) and believes that

  the Complaint has been filed without good cause.

         33.      An actual and justiciable controversy has arisen between OtterBox and Symbology

  concerning the infringement of the Patents-in-Suit.

         34.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

  OtterBox requests a declaration from this Court finding that each of the Patents-in-Suit are not

  infringed by OtterBox or any OtterBox product, either literally or under the doctrine of equivalents.

                                         Second Counterclaim
                                       (Declaration of Invalidity)

         35.      OtterBox hereby realleges and incorporates by reference each of the foregoing

  paragraphs as if fully set forth herein.

         36.      The asserted claims of the Patents-in-Suit are unpatentable under at least 35 U.S.C.

  § 101 at least as they are directed to the abstract idea of data recognition and retrieval with no

  inventive concept.

         37.      Symbology’s purported claims for infringement of the Patents-in-Suit are barred in

  whole or in part because one or more claims of the Patents-in-Suit are additionally invalid for

  failure to comply with one or more of the requirements of 35 U.S.C. §§ 1 et seq., including, but

  not limited to, 35 U.S.C. §§ 102, 103, and 112, and the rules, regulations, and laws pertaining

  thereto.

         38.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

  OtterBox requests a declaration from this Court finding that each of the Patents-in-Suit are invalid.



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                                    DEMAND FOR JURY TRIAL

         39.      OtterBox hereby demands a trial by jury on all issues and claims so triable.

         40.      By filing its Complaint, Symbology has purported to assert a claim for

  infringement.

         41.      An actual and justiciable controversy has arisen between OtterBox and Symbology

  concerning the validity and patentability of the claims of United States Patent Nos. 8,424,752;

  8,651,369; and 8,936,190.

         42.      OtterBox is entitled to judgment from this Court finding that each of the asserted

  claims of the Patents-in-Suit are not infringed; and are invalid for failure to comply with one or

  more of the requirements of United States Code, Title 35, including without limitations, 35 U.S.C.

  §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                                       PRAYER FOR RELIEF

         WHEREFORE, OtterBox respectfully requests that judgment be entered in favor of

  OtterBox and against Symbology and further prays that the Court grant the following relief to

  OtterBox:

         A.       A judgment in favor of OtterBox and against Symbology on all counts;

         B.       All costs incurred in this matter;

         C.       Reasonable attorneys’ fees pursuant to at least 35 U.S.C. § 285;

         D.       A declaration that the Patents-in-Suit are invalid for failure to comply with one or

  more of the requirements of United States Code, Title 35, including without limitations, 35 U.S.C.

  §§ 101, 102, 103, and 112;

         E.       A declaration that OtterBox has not infringed and is not infringing any claim of the

  Asserted Patents;

         F.       Dismissal of the Complaint with prejudice;


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        G.     Further relief as the Court may deem just and proper.



   Dated: May 31, 2018                       Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 31, 2018, a true and correct copy of the foregoing document

  was served via CM/ECF to all counsel of record.

                                                     /s/ James Beard
                                                     James Beard




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